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                                                       7   Attorneys for Plaintiffs
                                                       8                               UNITED STATES DISTRICT COURT

                                                       9                              NORTHERN DISTRICT OF CALIFORNIA

                                                      10

                                                      11   MARY KUNTZ, as Successor-in-Interest )            No. 4:21-cv-06935-JSW
                      NOVATO, CALIFORNIA 94948-6169
BRAYTON˜PURCELL LLP




                                                           to and as Wrongful Death Heir of     )
                        222 RUSH LANDING ROAD




                                                      12   WILLIAM KUNTZ, Deceased; and         )            ORDER GRANTING DISMISSAL
                          ATTORNEYS AT LAW




                                                           ANNIE GRAYE, JENNIE MARTIN and )                  WITHOUT PREJUDICE OF ENTIRE
                              (415) 898-1555
                              P O BOX 6169




                                                      13   SARAH THORNTON, as Wrongful Death )               ACTION
                                                           Heirs of WILLIAM KUNTZ, Deceased, )               ______________________________________
                                                      14                                        )
                                                                         Plaintiffs,            )
                                                      15                                        )
                                                           vs.                                  )
                                                      16                                        )
                                                           A.W. CHESTERTON COMPANY, et al., )
                                                      17                                        )
                                                                         Defendants.            )
                                                      18   __________________________________ )

                                                      19
                                                                  IT IS SO ORDERED. Plaintiffs’ complaint in this action is dismissed, without
                                                      20
                                                           prejudice, pursuant to Rule 41 of the Federal Rules of Civil Procedure. Each party shall bear
                                                      21
                                                           their own costs.
                                                      22

                                                      23
                                                           Dated: May 31, 2022                                  By: _______________________________
                                                      24                                                           Jeffrey S. White
                                                                                                                   United States District Judge
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                                                      28

                                                                                                            1
                                                           ORDER GRANTING DISMISSAL WITHOUT PREJUDICE OF ENTIRE ACTION
